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8                               UNITED STATES DISTRICT COURT
9                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10   BENITO LEO MILLETE; JUDITH I                      Case No.: [Case No.]'22CV1343 WQHWVG
     MILLETE,
11                                                     NOTICE OF REMOVAL OF A CIVIL
                                                       ACTION FILED IN STATE COURT
12                      Plaintiffs,
                                                       [28 U.S.C. § 1441(a), (c)]
13   v.
                                                       (Removed from Superior Court of
14   CHULA VISTA POLICE                                California, County of San Diego, Case
     DEPARTMENT, CITY OF CHULA                         No. 37-2022-00017223-CU-CR-CTL)
15   VISTA, and DOES 1 through 100,
     inclusive,
16
17                     Defendants.
18   TO: CLERK OF THE ABOVE-ENTITLED COURT
19            PLEASE TAKE NOTICE that Defendants City of Chula Vista (City) and Chula
20   Vista Police Department 1 (CVPD) (collectively referred to herein as “Defendants”) by and
21   through their attorney, Karen Rogan, Assistant City Attorney, respectfully remove to this
22   Court the above-captioned civil action from the Superior Court of California, County of
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       The Chula Vista Police Department is a department within the City of Chula Vista. It is
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     not a separate entity capable suing or of being sued. The only proper entity for purposes of
27   this action is the singular entity called City of Chula Vista.
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1    San Diego, Case No. 37-2022-00017223-CU-CR-CTL. The grounds for this removal
2    include the following:
3             1.    On May 6, 2022, Plaintiffs Benito Leo Millete and Judith I Millete
4    (collectively referred to herein as “Plaintiffs”) initiated civil case number 37-2022-
5    00017223-CU-CR-CTL in the Superior Court of California, County of San Diego. See
6    Plaintiff’s Complaint a true and correct copy of which has been filed concurrently herewith
7    as a separate attachment per the CM/ECF removal filing guidelines. 2
8             2.    Plaintiffs’ Complaint names City, CVPD, and DOE defendants 1 through 100
9    as Defendants. See Compl. ¶¶ 2, 4-5.
10            3.    Plaintiffs’ Complaint pleads six causes of action: 1) Violation of Civil Rights
11   42 U.S.C. 1983 (Fourth, Fifth, and Fourteenth Amendment); 2) Intentional Infliction of
12   Mental Distress; 3) Conversion; 4) Unlawful Detention and Excessive Force; 5)
13   Negligence; and 6) Assault. Plaintiffs do not allege these six causes of action against any
14   one defendant, and thus Defendants presumes each are alleged against them.
15            4.    As to the factual allegations, Plaintiffs’ Complaint alleges that on May 7,
16   2021, July 1, 2021, and October 19, 2021, Defendants entered Plaintiffs’ residence in Chula
17   Vista and, among other alleged acts, “searched plaintiffs’ home and seized their property.”
18   Compl. ¶ 1, p. 2:8-11. Plaintiffs further allege that Defendants “claim a valid search
19   warrant” and “took guns belonging to Larry Millete’s guns [sic] and Larry Millete’s Lexus,
20   Rubicon, Jeep among others.” 3 Compl. ¶1, p. 2:13-16. Plaintiffs further allege Defendants
21   went to their grandchildren’s school and “unlawfully detained them from 9:00 a.m. to 5:30
22   p.m. without the plaintiffs’ consent.” Compl. ¶ 1, p. 2:16-18 (emphasis added).
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       Defendants were not served with the original Complaint until August 9, 2022. (Discussed
     in more detail in paragraphs 9-11 below.)
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      The Complaint alleges Defendants seized personal property items from Plaintiffs’ son,
     Larry Millete, who is not a party to this lawsuit.
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         NOTICE OF REMOVAL OF A CIVIL ACTION FILED IN STATE COURT
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1             5.    The Complaint alleges Defendants “used excessive force and unlawfully
2    entered the plaintiffs’ grandchildren’s bedroom...” Compl. ¶ 7, p. 3:16-18. Plaintiffs further
3    allege Defendants unlawfully detained them and their three grandchildren during the
4    searches conducted at their residence on May 7, 2021. 4 Compl. ¶¶ 7-8, p. 3:21-23. Plaintiffs
5    also allege Defendants “patted plaintiffs down and searched their vehicle” on or about
6    October 19, 2021. Compl. ¶ 27.
7             6.    Lastly, the Complaint alleges Defendants caused “harmful or offensive
8    conduct to plaintiffs” when “Plaintiff Benito Leo fell after he was pushed by the police
9    officer.” Compl. ¶ 35. The Complaint asserts the alleged harmful and offensive conduct
10   put Plaintiffs “in fear and shock for all the unnecessary, excessive force, inappropriate,
11   unjust and hostile treatment…” Id.
12            7.    Plaintiffs allege Defendants caused them to suffer humiliation, severe mental
13   distress, anxiety, and emotional anguish, in addition to loss of monies, attorney’s fees,
14   inconveniences, and extra ordinary expenses in an amount to be proven at trial. Compl. ¶¶
15   12, 16, 24, 28, and 39. In addition, the Complaint’s Third and Sixth Causes of Action seeks
16   an award of punitive damages against Defendants. Compl. ¶¶ 22, 40. Further Plaintiffs’
17   prayer for relief seeks punitive damages against all parties for the matters alleged in the
18   Complaint. Compl. ¶ 42(4).
19            8.    Removal of this case is appropriate pursuant to 28 U.S.C. § 1441 because
20   Plaintiffs’ Complaint alleges violations of their rights under the United States Constitution
21   and thus arises under federal law. Compl. ¶¶ 1, 7, 8, 27 and 32. Where a civil action arises
22   under the Constitution or law of the United States, the district courts have original
23   jurisdiction. 28 U.S.C. § 1331. Where a state court complaint alleges a federal claim and
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      The Complaint alleges Defendants engaged in wrongdoing towards Plaintiffs’
27   grandchildren who are not parties to this lawsuit. See Compl. ¶¶ 7, 8, 9, 14, 15, 16, and
     34.
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1    state law claims, defendants may remove the action to federal court, and the federal court
2    may exercise supplemental jurisdiction over the state law claims. 28 U.S.C. § 1441 (a) and
3    (c); City of Chicago. v. Int.’l Coll. of Surgeons, 522 U.S. 156 (1997). The acts complained
4    of in Plaintiffs’ Complaint occurred in Chula Vista, California, which is within this Court’s
5    district.
6           9.    Although Plaintiffs filed their Complaint on May 6, 2022, Defendants were
7    not served until August 9, 2022.
8           10.   There are no amendments to the original Complaint reflected in the Register
9    of Actions for Plaintiffs’ civil case number 37-2022-00017223-CU-CR-CTL in the
10   Superior Court of California, County of San Diego as of the filing of this Notice of
11   Removal.
12          11.   As of the filing of this Notice of Removal, there have been no appearances by
13   any Defendants in Plaintiffs’ civil case number 37-2022-00017223-CU-CR-CTL in the
14   Superior Court of California, County of San Diego, and the records of the Superior Court
15   reflects Plaintiffs served Defendants on August 9, 2022. The initial case management
16   conference is scheduled for April 21, 2023.
17          12.   A true and correct copy of Plaintiffs’ original and only Superior Court
18   Complaint has been filed concurrently herewith as a separate attachment (per the CM/ECF
19   removal filing guidelines).
20          WHEREFORE, civil case number 37-2022-00017223-CU-CR-CTL, now pending
21   in the Superior Court of California, County of San Diego, is removed to this Court.
22   DATED: September 7, 2022                        Respectfully submitted,
                                                     GLEN R. GOOGINS, City Attorney,
23                                                   City of Chula Vista
24
                                                     _/s/KAREN ROGAN______________
25                                                   KAREN ROGAN, Assistant City Attorney
                                                     ERIC ALDEN, Deputy City Attorney
26                                                   Attorneys for Defendants Chula Vista Police
                                                     Department and City of Chula Vista
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      NOTICE OF REMOVAL OF A CIVIL ACTION FILED IN STATE COURT
